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11 Attorneys for Defendant Koninklijke Philips Electronics N.V.
   and Philips Electronics North America Corporation
12

13                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
14
                                    SAN FRANCISCO DIVISION
15

16 In re: CATHODE RAY TUBE (CRT)                         Case No. 07-5944 SC
   ANTITRUST LITIGATION
17                                                       MDL No. 1917
   ________________________________________
18                                                       [PROPOSED] ORDER GRANTING ERIK T.
                                                         KOONS’ APPLICATION FOR ADMISSION
19 This Document Relates to:                             OF ATTORNEY PRO HAC VICE

20      ALL ACTIONS

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                                                     1                              MDL 1917
                         [PROPOSED] ORDER GRANTING ERIK T. KOONS FOR ADMISSION OF
                                    ATTORNEY PRO HAC VICE - NO. 07-5944-SC
     Case 4:07-cv-05944-JST Document 1517-1 Filed 01/02/13 Page 2 of 2



 1
            ERIK T. KOONS, an active member in good standing of the bars of the State of New
 2
     York and the District of Columbia, whose business address and telephone number is:
 3
                                    Erik T. Koons
 4                                  Email: erik.koons@bakerbotts.com
                                    BAKER BOTTS L.L.P.
 5                                  1299 Pennsylvania Ave., N.W.
                                    Washington, D.C. 20004
 6                                  Telephone: (202) 639-7973
 7                                  Facsimile: (202) 585-1086

 8
     Having applied in the above-entitled action for admission to practice in the Northern District of
 9
     California on a pro hac vice basis, representing Defendants Koninklijke Philips Electronics N.V.
10
     and Philips Electronics North America Corporation;
11
            IT IS HEREBY ORDERED THAT the application is granted, subject to the terms and
12
     conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate appearance pro hac
13
     vice. Services of papers upon and communication with co-counsel designed in the application
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     will constitute notice to the party. All future filings in this action are subject to the requirements
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     contained in General Order No. 45, Electronic Case Filing.
16

17   Dated: ___________________________

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20                                                  SAMUEL CONTI
                                                    UNITED STATES DISTRICT JUDGE
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                                                        2                                          MDL 1917
                         [PROPOSED] ORDER GRANTING ERIK T. KOONS FOR ADMISSION OF
                                    ATTORNEY PRO HAC VICE - NO. 07-5944-SC
